        Case 3:17-cv-06223-LB Document 38 Filed 05/10/18 Page 1 of 2



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     EPIC GAMES, INC. and EPIC GAMES
10   INTERNATIONAL S.À.R.L.
11
                                 UNITED STATES DISTRICT COURT
12
                              NORTHERN DISTRICT OF CALIFORNIA
13
                                        SAN FRANCISCO DIVISION
14

15   EPIC GAMES, INC., a Maryland                 Case No. 3:17-cv-06223-LB
     corporation; and EPIC GAMES
16   INTERNATIONAL S.À.R.L., a                    DECLARATION OF HOLLY M. SIMPKINS
     Luxembourg Société à Responsibilité          IN SUPPORT OF PLAINTIFFS EPIC
17   Limitée,                                     GAMES, INC. AND EPIC GAMES
                                                  INTERNATIONAL S.À.R.L.’S
18                        Plaintiffs,             ADMINISTRATIVE MOTION TO SUBMIT
                                                  MOTION TOR ENTRY OF DEFAULT AS
19          v.                                    TO DEFENDANT KONSTANTIN
                                                  VLADIMIROVICH RAK WITHOUT
20   JAMES MENDES, an individual;                 HEARING
     KONSTANTIN VLADIMIROVICH RAK,
21   an individual; and OLEKSEY                   Judge:         Hon. Laurel Beeler
     OLEKSEEVICH STEGAILO, an                     Courtroom:     C, 15th Floor
22   individual,
23                        Defendants.
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28                                               -1-                    SIMPKINS DECLARATION
                                                                         Case No. 3:17-cv-06223-LB

                                                                                        139776632.1
         Case 3:17-cv-06223-LB Document 38 Filed 05/10/18 Page 2 of 2



 1                           DECLARATION OF HOLLY M. SIMPKINS
 2          I, Holly M. Simpkins, declare as follows:
 3          1.      I am an attorney licensed to practice law before the courts of the State of
 4   Washington. I am Senior Counsel at Perkins Coie LLP, and counsel in this action for Plaintiffs
 5   Epic Games, Inc. and Epic Games International S.à.r.l. (“Epic”). I submit this declaration in
 6   support of Epic’s Administrative Motion to Submit Motion for Entry of Default as to Defendant
 7   Konstantin Vladimirovich Rak Without Hearing. I have personal knowledge of the facts stated
 8   herein and, if called upon, I could and would testify competently thereto under oath.
 9          2.      Epic was unable to obtain a stipulation for this motion under Local Rule 7-12 from
10   Defendant Konstantin Vladimirovich Rak because, despite the deadline to respond to the
11   Complaint having lapsed, Rak has not appeared in this matter.
12          I declare under penalty of perjury under the laws of the United States that the foregoing is
13   true and correct.
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15          Executed this 10th day of May, 2018, at Los Angeles, California.
16                                                         /s/ Holly M. Simpkins
                                                           Holly M. Simpkins
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28                                                   -2-                       SIMPKINS DECLARATION
                                                                                Case No. 3:17-cv-06223-LB

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